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3
                                       UNITED STATES DISTRICT COURT
4
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
5

6    UNITED STATES OF AMERICA,                                 Case No.: 1:16-cr-00093-LJO-SKO

7                         Plaintiff,

     vs.                                                       ORDER AMENDING CONDITIONS OF
8                                                              PRETRIAL RELEASE

9    ANGELICA MORENO VELASQUEZ,
                          Defendant
10

11
              At the request of Pretrial Services, it is requested that the following language be added to Ms.
12
     Moreno Velasquez’ conditions of pretrial release:
13
              The defendant must surrender her passport and consulate card to the Clerk, U.S. District Court,
14
     and obtain no passport or consulate card during the pendency of this case; all prior ordered conditions of
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     release remain in full force and effect.
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     IT IS SO ORDERED.
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           Dated:   April 19, 2017                             /s/ Lawrence J. O’Neill _____
19                                                  UNITED STATES CHIEF DISTRICT JUDGE

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